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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


HUMAN RIGHTS DEFENSE CENTER,

              Plaintiff,

                       v.                                  Civil Action No. 19-01502 (TSC)

UNITED STATES PARK POLICE,

             Defendant.


                            DECLARATION OF JANEEN C. TYLER

I, Janeen C. Tyler, declare as follows:

   1. I am a Freedom of Information Act (FOIA) Officer and Government Information

       Specialist for the United States Park Police (USPP) at the Department of the Interior

       (Department). I have held this position since April 2008. My office receives and

       processes all initial FOIA requests for offices and staffs within the United States Park

       Police. In my capacity as the USPP FOIA Officer, I am familiar with USPP’s

       obligations under FOIA, including application of the various exemptions thereunder.

       All information herein is based upon my personal knowledge, and/or experience and/or

       my personal review of Plaintiff’s FOIA request and documents, and/or upon

       information furnished to me in my official capacity. I participated in processing the

       FOIA request that is the subject of this lawsuit.

                 ADMINISTRATIVE HISTORY OF PLAINTIFF’S FOIA REQUEST
                           NPS-2019-00608 and NPS-2019-00715

   2. On December 12, 2018, and March 1, 2019, Michelle Dillon, on behalf of the

       Human Rights Defense Center (Plaintiff), submitted a FOIA Request to the United


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   States Park Police seeking:

           [A] ll records . . . concerning litigation against the U.S. Park Police and/or its
           employees or agents where the agency and/or its insurers paid $1,000 or
           more to resolve claims. These payments include but not limited to
           settlements, damages, attorney fee awards, and sanctions, irrespective of the
           identity of the plaintiff or claimant; and record of all litigation against the
           U.S. Park Police and/or its employees or agents where the agency and/or its
           insurers paid $1,000 or more to resolve claims. These payments include, but
           not limited to, settlements, damages, attorney fee awards, and sanctions
           irrespective of the identity of the plaintiff or claimant.

   See Exhibit A (NPS-2019-00608 FOIA Request (December 12, 2018)). The FOIA

   Request included a date restriction confining the request to records from “January 1,

   2010 to the date of receipt of request February 26, 2019.” Id. This request was put on

   complex processing track and assigned the tracking number NPS-2019- 00608.

 USPP’S SEARCH FOR DOCUMENTS RESPONSIVE TO PLAINTIFF’S FOIA
                         REQUEST

3. I spoke briefly on February 26, 2019, to JR Richardson, Chief, Occupational Safety,

   Health and Wellness who was reasonably ascertained to be the custodian of potentially

   responsive records given his direct connection to the underlying subject matter.

   However, the request was too broad.

4. Due to the broadness of the plaintiff’s request, on July 11, 2019, plaintiff agreed to

   limit and clarify the scope of their request to exclude the following:

           1. Anything that is an automobile accident (personal or property injury) under

           $50,000.

           2. Any EEO claim that sounds in worker’s compensation or pay

           calculation, or are not about discrimination.

            3. Any claim at all under $3,000 (instead of $1,000). Exhibit B.

5. When the USPP receives a FOIA request, I evaluate the request to determine

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     which person within the USPP may reasonably be expected to contain the

     records requested. This determination is based on the description of the records

     requested and requires a familiarity with how the USPP maintains records.

     Based on my knowledge, I sent a records’ request to three persons, because

     they were reasonably ascertained to be the custodians of potentially responsive

     records given their direct connection to the underlying subject matter. Exhibit

     C.

6. These custodians included Beverly McKnight (NPS, EEO); JR Richardson (USPP,

     Chief, Occupational Safety, Health and Wellness); and Karlyn Payton (USPP,

     Employee and Labor Relations Unit).

7. The custodians were given search instructions on how to search for the records. Exhibit

     D.

8.   Each custodian searched their records for the period of January 1, 2010, to

     February 26, 2019, using the plaintiff’s limited scope of request. When

     conducting a search in response to a FOIA request, the USPP relies on the

     knowledge and expertise of the employees of each custodian to determine the

     files and locations reasonably likely to house responsive records and the best

     means of locating such records, as these employees are in the best position to

     know how their files are organized.

9. After conducting the search, the custodians provided the results to the USPP

     FOIA Office.

10. Given my twelve years (12) of experience within the USPP FOIA Office, I

     concluded that no one else would be reasonably likely to have responsive records.



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11. After review and deduplication, I identified eighteen (18) documents totaling 220

      pages as responsive to NPS- 2019-00608. Of the eighteen documents, one was

      released in full.

FIRST REVIEW OF PROPOSED WITHHOLDINGS AND AWARENESS REVIEW

12. On September 11, 2019, October 10, 2019, pursuant to agency regulations, after

      proposing redactions, my office sent the responsive documents to the Department’s

      Office of the Solicitor for legal review.

13. The responsive records fell into two general categories: (1) EEO settlement case files

      and (2) tort settlement case files.

14.     Exemption 6 allows an agency to withhold “personnel and medical files and similar

      files the disclosure of which would constitute a clearly unwarranted invasion of personal

      privacy.” 5 U.S.C. § 552(b)(6). For this reason, the identities of any tort claimants or

      employees who filed EEO complaints were redacted. Also, the identities of alleged

      tortfeasors and witnesses were redacted. These redactions were not limited to the name

      of the person, but also included pronouns that could identify a complainant’s/witness’s

      gender, any other personal identifiably makers, settlement dates, and date of filing

      claims. These redactions were made pursuant to 5 U.S.C. § 552(b)(6) because release of

      the information would constitute an unwarranted invasion of personal privacy due to the

      nature of the complaints.

                   RELEASE OF RESPONSIVE RECORDS TO PLAINTIFF

15.     After legal review, on September 13, 2019, the first partial response letter was sent to

       the plaintiff that contained three (3) responsive documents totaling thirty-two (32)

       pages. Exhibit F.



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 16. After legal review, on October 18, 2019, the second final partial response letter was

      sent to the plaintiff that contained fifteen (15) responsive documents totaling 188

      pages. Exhibit G.

SECOND REVIEW OF PROPOSED WITHHOLDINGS AND AWARENESS REVIEW

 17. In December 2019, plaintiff requested that my office evaluate each redacted record on

    a case by case basis and not make categorical redactions. Specifically, plaintiff

    questioned our exemption 6 redactions.

 18. Pursuant to agency regulations, after re-evaluating USPP’s earlier releases, my office

    sent revised proposed redactions to the Department’s Office of the Solicitor for legal

    review.

 19. USPP reviewed document nos. 1-17 to see if revised redactions could be made, and

    USPP did make modifications.

        RELEASE OF RESPONSIVE RECORDS AFTER SECOND REVIEW TO
                              PLAINTIFF

 20. In response to plaintiff’s request, USPP released modified redactions in May 2020 and

    September 2020. Additional information was released to Plaintiff, but USPP continued

    to withhold, pursuant to Exemption 6, the names of the EEO claimants on documents 1-

    14, the names of tort claimants on documents 15-17, and the names of alleged

    tortfeasors on documents 15-17. The documents at issue, nos. 1-17, and the reasons for

    the application of Exemption 6, are set forth in the Vaughn Index, attached as Exhibit

    “E”.

 21. The EEO claimants in documents 1-14 on the Vaughn Index made various personal

    claims of discrimination based on disability, age, race, national origin, sex, color, and

    sexual harassment. Vaughn Index.

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22. USPP carefully examined the documents and determined that the EEO claimants in

   documents 1-14 had a significant privacy interest in their identities and that their privacy

   interests outweighed the release of the information, and that release of the information

   would not shed light on the activities of USPP. Vaughn Index.

23. The tort claimants and alleged tortfeasors in documents 15-17 on the Vaughn Index

   involved personal claims of injury, and allegations against low ranking USPP

   employees that were never proven. Vaughn Index.

24. USPP carefully examined the documents and determined that the tort claimants and

   alleged tortfeasors in documents 15-17 had a significant privacy interest in their

   identities and that their privacy interests outweighed the release of the information, and

   that release of the information would not shed light on the activities of USPP. Vaughn

   Index.

                                 CONCLUSION
25. The USPP performed adequate and reasonable searches for records responsive to

   Plaintiffs FOIA request to the USPP; processed all records located by the USPP; and

   released all reasonably segregable non-exempt information from records responsive to

   Plaintiff's FOIA request.     Information was properly withheld pursuant to FOIA

   Exemption 6. The only information withheld was the names of EEO claimants on

   Document nos. 1-14; the names of tort claimants on documents 15-17; and the names of

   4 alleged tortfeasors on documents 15-17, who were all low-ranking USPP officers. See

   Vaughn Index.

26. The USPP carefully examined documents 1-17 and determined that the information

   withheld from Plaintiff pursuant to Exemption 6, if disclosed, would cause a clearly



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          unwarranted invasion of personal privacy, or could reasonably be expected to constitute

          an unwarranted invasion of personal privacy. See Vaughn Index.

    27. The USPP performed a balancing test, and concluded that the privacy interests of those

          individuals whose names were redacted outweighed the public interest in release of the

          information. See Vaughn Index.

    28.     After extensive review of the documents at issue, the USPP determined that there is

          no further non-exempt information that can be reasonably segregated and released

          without revealing exempt information.

    29. But to the extent that a claimant’s name was inadvertently released, it was done in

          error and plaintiff should not disclose the errant release to the public and should destroy

          that document.

    I declare under penalty of perjury that the foregoing is true and correct.

Executed on March 26, 2021.


                                        Janeen C. Tyler
                                        Freedom of Information Act Officer
                                        United States Park Police




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